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United States Attorney
District of Menylaned lt PP: 03
Southern Division

 

 

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May 24, 2021

Ned Smock, Esq.

Office of the Federal Public Defender
6411 Ivy Lane, Suite 710

Greenbelt. Maryland 20770

Re: United States v. Brian Mark Lemley. Jr..
Criminal No. TDC-20-33 (D. Md.)
Criminal No. [TBD] (Rule 20 Transfer of Criminal No. 20-09 (D. Del.))
THC-2-OAOS

Dear Counsel:

This letter, together with the Sealed Supplement, contirms the plea agreement (this
“Agreement”) that has been offered to your client, Brian Mark Lemley, Jr. (hereinafter
“Defendant’), by the United States Attorney’s Office for the District of Maryland and the United
States Attorney’s Office for the District of Delaware (“this Office”). Ifthe Defendant accepts this
offer, please have the Defendant execute it in the spaces provided below. If this offer has not been
accepted by 5:00 p.m. on June 4, 2021, it will be deemed withdrawn. The terms of the Agreement
are as follows:

Offenses of Conviction

1. The Defendant agrees to plead guilty to Counts One, Four, Seven, and Twelve of
the Indictment now pending in the District of Maryland under Criminal No. TDC-20-33. which
charge the Defendant in Count One with conspiracy to transport certain aliens, in violation of 8
U.S.C. § 1324(a)(1)(A)(v)C); in Count Four with transporting certain aliens, in violation of 8
U.S.C. § 1324(a)(1 (A)G); in Count Seven with disposing of a firearm and ammunition to an
legal alien, in violation of 18 U.S.C. § 922(d)(5); and in Count Twelve with transporting a firearm
and ammunition in interstate commerce with intent to commit a felony, in violation of 18 U.S.C.

924(b). The Defendant admits that the Defendant is, in fact, guilty of the offenses and will so
advise the Court.

2, The Defendant further agrees, pursuant to Federal Rule of Criminal Procedure 20,
to plead guilty in the District of Maryland to Count Two, Count Three, and Count Six of the
Indictment now pending in the District of Delaware under Criminal No. 20-09, which charge the
Defendant in Count Two with harboring certain aliens, in violation of 8 U.S.C.
§ 1324(a}(1)(3)Gi1): tn Count Three with aiding and abetting an alien in possession of a firearm,
in violation of 18 U.S.C. $§ 922(g)(5) and 2: and in Count Six with obstruction of justice, in

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violation of 18

U.S.C. $ 1519. The Defendant admits that the Defendant is, in fact, guilty of the

offenses and will so advise the Court.

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Elements of the Offenses

The elements of the offenses to which the Defendant has agreed to plead guilty, and

which this Office would prove if the case went to trial, are as follows: That on or about the time
alleged in the Indictment, in the District of Maryland (as to Criminal No. TDC-20-33) and in the
District of Delaware (as to Criminal No, 20-09)-—

Criminal No, TDC-20-33 (D. Mad.)

d.

Count One (Conspiracy to Transport Certain Aliens): (1) The Defendant and one
or more persons entered the unlawful agreement charged in the Indictment, that is,
an agreement to transport certain aliens; and (2) the Defendant knowingly and
willfully became a member of that conspiracy.

Count Four (Transporting Certain Aliens): (1) An alien was in the United States in
violation of the law: (2) the Defendant knew, or acted in reckless disregard of the
fact, that the person was an alien who had come to, entered. or remained in the
United States in violation of the law; (3) the Defendant transported the alien within
the United States; and (4) the Defendant acted willfully in furtherance of the alien’s
violation of law.

Count Seven (Disposing of a Firearm and Ammunition to an Illegal Alien): (1) The
Defendant knowingly sold or otherwise disposed of a firearm or ammunition to an
alien; (2) the Defendant knew or had reasonable cause to believe that the alien was
illegally and unlawfully in the United States; and (3) the sale or disposal affected
interstate commerce.

Count Twelve (Transporting a Firearm and Ammunition in Interstate Commerce
with Intent to Commit _a Felony): (1) The Defendant transported, shipped, or
received a firearm or ammunition in interstate commerce; and (2) the Defendant
transported, shipped, or received the firearm or ammunition with the intent to
commit a crime punishable by imprisonment for a term exceeding one year, or with
knowledge or reasonable cause to believe that such a crime would be committed
with the firearm, as specified in the Indictment.

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Count Two (Harboring Certain Aliens): (1) An alien was in the United States in
violation of law; (2) the Defendant knew, or acted in reckless disregard of the fact,
that the person was an alien who had come to, entered, or remained in the United
States in violation of the law: (3) the Defendant harbored, concealed, or shielded
from detection an alien who had come to, entered, or remained in the United States
in violation of the law; and (4) the Defendant’s actions in harboring, concealing, or

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shielding from detection substantially facilitated the alien’s ability to remain in the
United States.

f. Count Three (Aiding and Abetting an Alien in Possession of a Firearm): (1) The
Defendant knowingly aided and abetted an alien in possessing a firearm; (2) at the
time of the charged act, the alien was unlawfully and illegally in the United States;
(3) at the time of the charged act, the Defendant knew that the alien was unlawfully
and illegally in the United States; and (4) the possession charged was in or affecting
commerce.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

g. Count Six (Obstruction of Justice): (1) The Defendant altered, destroyed, mutilated,
concealed, and covered up any record or tangible object as alleged in the
Indictment; (2) the Defendant acted knowingly; and (3) the Defendant acted with
the intent to impede, obstruct, or influence an investigation or matter within the
jurisdiction of a department or agency of the United States Government.
Penalties
4. The maximum penalties provided by statute for the offenses to which the Defendant
is pleading guilty are as follows:
Criminal No. TDC-20-33 (D. Md.)
am | - Minimum | Maximum | Supervised | Maximum Special
Count Statute ‘ : :
Prison Prison Release Fine Assessment
8US.C.
| § 1324(a)(1) N/A 10 years 3 years $250.000 $100
(AY)
8 U.S.C,
a /\ Sy ar 3S years 5 PLVAY “
Hg 1324@y andi) N/A 5 years 3 years $250,000 $100
18 US.¢, 4
fear’ 3 years $250,
7 _-§.922(4)(5) N/A 10 years 3 years $250,000 $100
12 [8 U.S.C. § 924(b) N/A 10 years 3 years $250,000 $100
Criminal No. 20-09 (D. Del.)
Count — Minimum Maximum Supervised Maximum Special |
Prison Prison Release Fine Assessment
8 U.S.C.
2 § 1324(a)(1) N/A 5 years 3 years $250,000 $100
(A)Gi)
18 U.S.C
y . AAR 24 i Ph) Nn
| 3 §§ 922(2)(5) & 2 N/A 10 years 3 years $250,000 $100
6 LOE, N/A | 20 years | 3years | $250,000 | $100
§ 1519 :

 

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a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons
has sole discretion to designate the institution at which it will be served.

b. Supervised Release: [f the Court orders a term of supervised release, and
the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

c. Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. $8 3663. 3663A, and 3664.

d, Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

i, Collection of Debts: If the Court imposes a fine or restitution, this Office's
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid. the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights
5. The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant. this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity

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to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

¢. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government's witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses
in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

dd. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have
ithe right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court's decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

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g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

hi. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding. however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court. can
predict with certainty the effect of a conviction on immigration status. The Defendant is not

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relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

 

6. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and
28 U.S.C. $§ 991 through 998. The Defendant further understands that the Court will impose a
sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

1s This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein.

Criminal No. TDC-20-33 (D. Md.)
Count One (Conspiracy to Transport Certain Aliens):

a. This Office and the Defendant further agrec that the applicable base offense
level is £2, pursuant to United States Sentencing Guidelines (“U.S.S.G.") § 2L1.1(a)(3).

b. A 3-level decrease applies, pursuant to U.S.S.G. § 2LI.1(b)(1), because the
offense was committed other than for profit.

¢. A 2-level increase applies, pursuant to U.S.S.G. § 3CI.1, because the
Defendant willfully obstructed or impeded, or attempted to obstruct or impede, the administration
of justice with respect to the investigation, prosecution, or sentencing of the instant offense of
conviction, and the obstructive conduct related to the Defendant's offense of conviction and any
relevant conduct and a closely related offense.

Count Four (Transporting Certain Aliens):

d. The applicable base offense level is 12, pursuant to U.S.S.G. § 2L1.1(a)(3).
e A 3-level decrease applies, pursuant to U.S.5.G. § 2L1.1(b)(1), because the

offense was committed other than for profit.

f The offense level is increased to 18, pursuant to U.S.S.G. § 2L1.1(b)(5)(C),
because a dangerous weapon (including a firearm) was possessed.

g, A 2-level increase applies, pursuant to U.S.S.G. § 3CI1.1, because the
Defendant willfully obstructed or impeded, or attempted to obstruct or impede, the administration

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of justice with respect to the investigation, prosecution, or sentencing of the instant offense of
conviction, and the obstructive conduct related to the Defendant’s offense of conviction and any
relevant conduct and a closely related offense.

Count Seven (Disposing of a Firearm and Ammunition to an [legal Alien):

h. The applicable base offense level is 20, pursuant to U.S.S.G.
§ 2K2.1(a)(4)(B), because the offense involved a semiautomatic firearm that is capable of
accepting a large capacity magazine, and the Defendant is convicted under 18 U.S.C. § 922(d).

1, A 2-level increase applies, pursuant to U.S.S.G. § 3C1.1, because the
Defendant willfully obstructed or impeded, or attempted to obstruct or impede, the administration
of justice with respect to the investigation, prosecution, or sentencing of the instant offense of
conviction, and the obstructive conduct related to the Defendant’s offense of conviction and any
relevant conduct and a closely related offense.

Count Twelve (Transporting a Firearm and Ammunition in Interstate Commerce
with Intent to Commit a Felony):

 

|. The applicable base offense level is 20, pursuant to U.S.S.G.
§ 2K2.1(a)(4)(B). because the offense involved a semiautomatic firearm that is capable of
accepting a large capacity magazine, and the Defendant is convicted under 18 U.S.C. § 922(d).

k, A 2-level increase applies, pursuant to U.S.S.G. § 3C1.1, because the
Defendant willfully obstructed or impeded, or attempted to obstruct or impede, the administration
of justice with respect to the investigation, prosecution, or sentencing of the instant offense of
conviction, and the obstructive conduct related to the Defendant’s offense of conviction and any
relevant conduct and a closely related offense.

Criminal No. 20-09 (D. Del.)

Count Two (Harboring Certain Aliens):

 

I, The applicable base offense level is 12, pursuant to U.S.S.G. § 2L1.1(a)(3).
m. A 3-level decrease applies, pursuant to U.S.S.G. § 2L1.1(b)(1), because the

offense was committed other than for profit.

n. The offense level is increased to 18, pursuant to U.S.S.G. § 2L1.1(b)(5)(C),
because a dangerous weapon (including a firearm) was possessed.

0. A 2-level increase applies, pursuant to U.S.S.G. § 3C1.1, because the
Defendant willfully obstructed or impeded. or attempted to obstruct or impede. the administration
of justice with respect to the investigation, prosecution, or sentencing of the instant offense of
conviction. and the obstructive conduct related to the Defendant’s offense of conviction and any
relevant conduct and a closely related offense.

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Count Three (Aiding and Abetting an Alien in Possession of a Firearm):

p. The applicable base offense level is 20. pursuant to U.S.S.G.
§ 2K2.1(a)(4)\(B). because the offense involved a semiautomatic firearm that is capable of
accepting a large capacity magazine, and the Defendant is convicted under 18 U.S.C. § 922(d).

q. A 2-level increase applies, pursuant to U.S.S.G. § 3CI.1, because the
Defendant willfully obstructed or impeded, or attempted to obstruct or impede, the administration
of justice with respect to the investigation, prosecution, or sentencing of the instant offense of
conviction, and the obstructive conduct related to the Defendant’s offense of conviction and any
relevant conduct and a closely related offense.

Count Six (Obstruction of Justice):

é The applicable base offense level is 14, pursuant to U.S.S.G. § 2J1.2.
S. A 2-level increase applies, pursuant to U.S.S.G. § 2J1.2(b)(3)(B), because

the offense involved the selection of any essential or especially probative record, document, or
tangible object. to destroy or alter.

Grouping

t. There is no agreement as to the applicability or mapplicability of the
grouping rules set forth in ULS.S.G. § 3DI.1, 3D 1.2, 3D1.3, and 3D 1.4.

Keservation of Rights Regarding Guidelines

as In addition to the agreed-upon Guideline provisions above, this Office and
the Defendant reserve the right to argue for or against the applicability of any other Guideline or
Guideline provision, including but not limited to: U.S.S.G. §§ 2K2.1(b)(6)(B) (use or possession
of a firearm in connection with another felony offense), 2L1.1 application note 7 (upward
departure), 3A1.1(a) (hate crime motivation or vulnerable victim). 3A1.2(a) (official victim),
3A 1.4(a) and (b) (terrorism), and 4A 1.3(a) (inadequacy of criminal history category).

Acceptance of Responsibility

v. This Office does not oppose a 2-level reduction in the Defendant's adjusted
offense level pursuant to U.S.S.G. § 3EI.I(a) based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office will not make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional 1-
level decrease. This Office may oppose any adjustment for acceptance of responsibility under
U.S.S.G. § 3EL.{(a), and may decline to make a motion pursuant to U.S.S.G. § 3EI.1(b), if the
Defendant: (1) fails to admit each and every item in the factual stipulation; (ii) denies involvement
in the offense; (111) gives conflicting statements about the Defendant’s involvement in the offense;
(iv) is untruthful with the Court. this Office, or the United States Probation Office: (v) obstructs

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or attempts to obstruct justice prior to sentencing; (vi) engages in any criminal conduct between
the date of this Agreement and the date of sentencing; (vii) attempts to withdraw the plea of guilty;
or (vill) violates this Agreement in any way.

No Agreement as to Criminal History

8. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant's income.

Obligations of the Parties

9, At the time of sentencing, this Office and the Defendant reserve the right to
advocate for a reasonable sentence, period of supervised release, and/or fine considering any
appropriate factors under 18 U.S.C. § 3553(a). Specifically, the Defendant may advocate for
any sentence at or above the aggregate statutory minimums (zero days imprisonment), and
the Government may advocate for any sentence at or below the aggregate statutory
maximums (70 years imprisonment), notwithstanding the advisory Guideline range. This
Office and the Defendant reserve the right to bring to the Court’s attention all information with
respect to the Defendant’s background, character, and conduct that this Office or the Defendant
deem relevant to sentencing, including the conduct that is the subject of any counts of the
Indictment. At the time of sentencing, this Office will move to dismiss any open counts against
the Defendant in Criminal No. TDC-20-33 (D. Md.) and Criminal No. 20-09 (D. Del.).

Waiver of Appeal

10. In exchange for the concessions made by this Office and the Defendant in this
Agreement. this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver ofall right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the edmitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.

b. The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C, § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture.
order of restitution, and term or condition of supervised release), except as follows:

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i, The Defendant reserves the right to appeal any term of
imprisonment that exceeds the aggregate statutory minimum (zero days) for any reason, including
(but not limited to) grounds that the Court misapplied any Guideline enhancement not agreed to

by the parties; and

iL. This Office reserves the right to appeal any term of imprisonment
that is below the aggregate statutory maximum (70 years) for any reason, including (but not limited
to) grounds that the Court misapplied any Guideline enhancement not agreed to by the parties.

C. The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Forfeiture
(1. The Defendant understands that the Court may enter an Order of Forfeiture as part

of the Defendant's sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses.

12. Specifically, but without limitation on the Government’s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant's right, title, and interest in the following items that the Defendant agrees constitute
money. property. and/or assets derived from or obtained by the Defendant as a result of, or used
to facilitate the commission of, the Defendant’s illegal activities: all firearms and ammunitions
seized from the Defendant's residence in Delaware on or about January 16, 2020.

13, The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 32.2 and
+3(a) regarding notice of the forfeiture in the charging instrument, announcement of the forfeiture
at sentencing, and incorporation of the forfeiture in the judgment. This Office agrees to seek the
Attorney General’s approval to apply forfeited assets to the Defendant’s Restitution Order.

I4. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title. assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

15. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil

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or administrative forfeiture of any property subject to forfeiture under this Agreement. and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Abandonment

16. The Defendant knowingly and voluntarily waives any right, title, and interest in
any property seized from the Defendant’s residence in Delaware on or about January 16, 2020 (the
“Abandoned Property”).

17. The Defendant agrees not to contest the vesting of title of the Abandoned Property
in the United States Government and agrees to unconditionally release and hold harmless the
United States Government, its officers, employees, and agents, from any and all claims, demands,
damages. causes of actions, sults, of whatever kind and description, and wheresoever situated, that
might now exist or hereafter exist by reason of or growing out of or affecting, directly or indirectly,
the seizure or waiver of ownership interest in the Abandoned Property. The Defendant agrees to
execule any documents as necessary to the waiver of right, title, and interest in the Abandoned
Property. including any forms necessary to effect the Defendant’s waiver of ownership interest.

Defendant’s Conduct Prior to Sentencing and Breach

18. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

19. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (1) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 1 1(c)(1)(C): and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements. information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule {1 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
IIc) )(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

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Court Not a Party

20. The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing
lindings different from those stipulated in this Agreement. or if the Court imposes any sentence up
to the maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations
under this Agreement. Neither the prosecutor, defense counsel. nor the Court can make a binding
prediction, promise, or representation as to what guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

21. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office
other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

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Ifthe Defendant fully accepts each and every term and condition of this Agreement. please
sign and have the Defendant sign the original and return it to me promptly.

o

Very truly yours,

Jonathan F, Lenzner
Acting United States Attorney for the District of Maryland

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Thomas P. Windom
Thomas M. Sullivan
Assistant United States Attorney

David C. Weiss

United States Attorney for the District of Delaware
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DEDJINOU rae eee

Adrienne C. Dedjinou

Assistant United States Attorney

 

| have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, | have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and I do not wish to
change any part of it. [am completely satisfied with the representation of my attorney.

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Date Brian Mark Lemley, Jr. (/
Le

 

 

lam the Defendant's attorney. | have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

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Dat Ned Sméck71 Esq.

 

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ATTACHMENT A
STIPULATION OF FACTS

The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts bevond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

The Defendant, BRIAN MARK LEMLEY, JR. (“LEMLEY”), was a member of an
organization called “THE BASE.” Co-defendants Patrik Jordan Mathews (“Mathews”) and
William Garfield Bilbrough (“Bilbrough”) also were members of THE BASE.

THE BASE

Since 2018, THE BASE has been building a group within the United States and abroad
through. among other things, online chat rooms, in-person meetings, propaganda, and military
training. THE BASE recruits through its online presence, among other means. Applicants submit
an application form. Applicants are then vetted. Once admitted into the organization, BASE
members are afforded access to a secure messaging group, which members—including LEMLEY,
“Mathews, and Bilbrough—accessed and participated in through applications on their cell phones.

The August 2019 BASE Training Camps

Members of THE BASE conducted a regional training camp in Georgia from August 2
inrough August 4, 2019. LEMLIY and Bilbrough traveled in LEMLEY’s vehicle to attend the
training camp, and while there participated in tactical training and firearm drills.

Later in August 2019, LEMLEY and Bilbrough attended another THE BASE training
camp ina different state. The photograph below was taken at that separate training camp. In the
photograph, LEMLEY is standing second from the left while holding a long gun straight in the
air, and Bilbrough is kneeling in the center under THE BASE flag while holding a blade.

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Mathews’s Arrival in the United States

On August 19, 2019. the Winnipeg (Canada) Free Press published an article regarding one
of its reporters” infiltration of THE BASE. While acting in an undercover capacity on behalf of
the Winnipeg Free Press, the reporter was telephonically interviewed by THE BASE leadership to
become a member. Upon completion of the telephone interview, THE BASE leadership arranged
an in-person meeting with Mathews, a local THE BASE member residing in the area of Winnipeg,
Canada. The reporting led to the identification of Mathews as the THE BASE member the reporter
had met in person. Thereafter, Mathews fled Canada and illegally entered the United States. At
some point thereafter, LEMLEY and Bilbrough learned that Mathews had unlawfully crossed
the border.

On or about August 30, 2019, LEMLEY and Bilbrough traveled in LEMLEY'’s truck
from Maryland to southern Michigan (roughly 600 miles, just off the Indiana Toll Road) to pick
up Mathews. At the time they drove to Michigan to pick up Mathews, LEMLEY understood
that Mathews was a fellow member of THE BASE. that Mathews had entered the United States
unlawfully, and that LEMLEY and Bilbrough were driving to pick up Mathews in order to
transport Mathews to the East Coast, where Mathews could safely reside in the United States and
continue his participation in THE BASE. LEMLEY and Bilbrough remained in the Michigan

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area for approximately two hours, after which all three headed back east. LEMLEY drove
Mathews and Bilbrough during part of the return trip to Maryland.

On the evening of August 31, 2019, LEMLEY and Mathews dropped Bilbrough off at
Bilbrough’s house in Denton, Maryland. Thereafter, LEMLEY drove Mathews to in or around
Chincotague, Virginia, in order to conceal Mathews’s presence in the United States.

On Saturday, September 14, 2019, LEMLEY traveled in his vehicle from the area of his
residence in Elicton, Maryland, area to Chincoteague Island, Virginia. LEMLEY stopped in
Chincoteague Island for approximately two hours, during which time he picked up Mathews.
LEMLEY and Mathews then traveled south and utilized the Chesapeake Bay Bridge Tunnel in
the vicinity of Norfolk, Virginia, as shown in the following photograph taken at the Chesapeake
Bay Bridge Tunnel:

 

 

On Sunday. September 15, 2019, at approximately 3:00 a.m.. LEMLEY and Mathews
arrived in Rome, Georgia, in the vicinity of a known THE BASE member’s residence.
Approximately five hours later, LEMLEY departed and headed north and east toward Maryland.
Mathews stayed at the Georgia property.

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The October/November Training Camp in Georgia

On or about October 30, 2019, LEMLEY picked up Bilbrough at Bilbrough’s residence
in Maryland and drove south to Georgia to attend a training camp at the property of another
member of THE BASE. Mathews, who already was residing at the Georgia property, also
attended the training camp. While in Georgia, on or about November 2, 2019, LEMLEY and
Gilbrough purchased approximately 1.550 rounds of 5.56 mm ammunition. Late in the evening
on November 2, 2019, LEMLEY, Mathews, and Bilbrough traveled from Georgia to Maryland.
On November 3, 2019, LEMLEY and Mathews dropped Bilbrough off at Bilbrough’s residence.
From there, LEMLEY and Mathews traveled to the area of Elkton, Maryland, where Mathews
spent the night at a motel minutes from LEMLEY’s residence.

The Delaware Residence

On November 4, 2019, Mathews left the motel near LEMLEY’s residence in Maryland
on foot, carrying a rolling duffel bag. After ordering food from a nearby restaurant and obtaining
a drink from a convenience store, Mathews walked into the woods behind the restaurant, where
he remained until LEMLEY picked him up. LEMLEY and Mathews then drove to a bank and
then to an apartment complex in Newark, Delaware (just across the state line from Elkton,
Maryland), where LEMLEY entered the leasing office while Mathews remained in the vehicle.
After leaving the leasing office, LEMLEY and Mathews entered one of the buildings of the
apartment complex, where they were later observed unloading luggage. Thereatter, LEMLEY
and Mathews primarily resided in the Delaware residence.

On December 20, 2019, inside the Delaware residence, Mathews took steps to construct a
rifle out of various weapon parts. The same day, LEMLEY and Mathews discussed the rifle, and
Mathews watched a video on his phone that provided directions on constructing the rifle.
Furthermore, LEMLEY and Mathews discussed weapon parts that needed to be obtained to finish
constructing the rifle. On December 21, 2019, LEMLEY and Mathews discussed obtaining
weapon parts for the rifle. LEMLEY and Mathews held and manipulated the rifle throughout the
day.

On December 29, 2019, LEMLEY and Mathews discussed visiting a gun range to test fire
the newly constructed rifle. LEMLEY told Mathews that he had planned to go to a gun range
with another THE BASE member, but that Mathews “might not be able to go because of
| Mathews’s] [D situation,” which was a reference to Mathews not having a lawful identification
and therefore not being permitted to use a business-operated gun range. LEMLEY then went on
to describe a “public range” that they could use.

On January 2, 2020, LEMLEY took the rifle from the Delaware residence to a public gun
range in Maryland. An FBI agent observed LEMLEY at the gun range.

On January 5, 2020, Mathews, LEMLEY., and one of LEMLEY’s relatives departed the
Delaware residence with at least one firearm. All three went from the Delaware residence to the
same public gun range in Maryland that LEMLEY had gone to on January 2, 2020. Prior to their
arrival, the FBI had set up a stationary camera in a vehicle near the gun range, and an ATF agent

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was in the vicinity of the range. On the stationary camera, agents observed and recorded Mathews

in possession of a firearm. While Mathews fired the rifle, LEMLEY observed Mathews’s shots
through an unattached rifle scope.

On January 7, 2020, LEMLEY ordered approximately 1.500 rounds of 5.56 mm and 6.5
mm ammunition. This ammunition fit two rifles possessed by LEMLEY and Mathews.

On January 11,2020, LEMLEY drove Mathews from the Delaware residence to the same
gun range in Maryland they had visited on January 5, 2020. While at the range, Mathews handled
and fired the rifle. When returning to the Delaware residence from the gun range, LEMLEY and
Mathews stopped by LEMLEY’s prior residence in Maryland, where they retrieved at least some
of the 1.500 rounds LEMLEY had ordered on January 7.

On January 15, 2020, LEMLEY and Mathews discussed the possibility of going to jail
for their conduct. During the conversation, LEMLEY told Mathews, in sum and substance, “I
may be going to jail upon discovery of the propaganda in my cell phone.”

Early in the morning on January 16, 2020, federal agents executed federal arrest warrants
on LEMBLEY and Mathews at the Delaware residence. Before LEMLEY and Mathews
submitted to the agents, however, LEMLEY repeatedly directed Mathews to smash his cell phone
(“Break your phone”; “Smash it”: “Break it in half. Smash it motherfucker!”’). LEMLEY and
Mathews smashed their cell phones and dumped them into the toilet. By destroying the telephone,
LEMLEY and Mathews intended to obstruct or impede, or attempt to obstruct or impede, the
administration of justice with respect to the investigation, prosecution, and sentencing of their
offenses. Their activity was fully captured on video and audio surveillance equipment installed in
the Delaware residence, pursuant to lawful orders issued by the Honorable Richard Andrews.
United States District Judge for the District of Delaware.

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SO STIPULATED:

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Thomas P. Windom
Thomas M. Sullivan
Assistant United States Attorneys
District of Maryland

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Adrienne C. Dedjinou
Assistant United States Attorney
District of Delaware

eon 9. Lemley

Brian Mark Lemley, Jr ZT
Defendant

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Counsel for Defendant

 

 

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